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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


KELLY WOOD and JOHN NEVES,

                       Plaintiffs,

v.                                                       Case No: 6:19-cv-1681-Orl-41EJK

SURAT INVESTMENTS, LLC and
RAJESH PATEL,

                       Defendants.
                                                  /

                                           ORDER

       This cause comes before the Court on the parties’ Joint Motion for Approval of the

Settlement Agreement (the “Motion”), filed March 2, 2020. (Doc. 14.) Upon review, the Court

requires further briefing on the amount of damages Plaintiff sought prior to settling his FLSA

claim. Accordingly, it is hereby ORDERED that the Motion is TAKEN UNDER

ADVISEMENT. Plaintiff is ORDERED to file answers to the Court’s Interrogatories, on page

two of this Order, on or before April 24, 2020.


       DONE and ORDERED in Orlando, Florida on April 10, 2020.




Copies furnished to:

Counsel of Record




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1.   What was your regular rate of pay?

2.   What is the nature of your claim (check all that apply)?

     _____Off the clock work (Defendant failed to record, or prohibited you from
           recording, all of your working time;

     _____Misclassification (Defendant mistakenly classified you as exempt from
     overtime);

     _____Miscalculation (Defendant failed to correctly calculate your compensation);

     _____Other (Please describe):
           ___________________________________________________________

            ___________________________________________________________



3.   Provide an accounting of your claim, including:

     (a)    dates

     (b)    regular hours worked

     (c)    over-time hours worked

     (d)    pay received versus pay claimed

     (e)    total amount claimed




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